                                                                                                                                                 9/29/23 3:50PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                DESTIN PLATINUM, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA VOCO HOTEL & SUITES
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  111 BROADWAY
                                  10861 US-98                                                     SUITE 300
                                  Miramar Beach, FL 32550                                         Nashville, TN 37201
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Walton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    DESTIN PLATINUM, LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    DESTIN PLATINUM, LLC                                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
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Debtor   DESTIN PLATINUM, LLC                                                     Case number (if known)
         Name

                           $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                           $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                           $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    DESTIN PLATINUM, LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 29, 2023
                                                  MM / DD / YYYY


                             X /s/ MITCH PATEL                                                            MITCH PATEL
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   MANAGER OF LLC




18. Signature of attorney    X /s/ Steven L. Lefkovitz                                                     Date September 29, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Steven L. Lefkovitz 5953
                                 Printed name

                                 LEFKOVITZ & LEFKOVITZ
                                 Firm name

                                 908 HARPETH VALLEY PLACE
                                 NASHVILLE, TN 37221
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     615-256-8300                  Email address      slefkovitz@lefkovitz.com

                                 5953 TN
                                 Bar number and State




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Debtor     DESTIN PLATINUM, LLC                                                             Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                                                   Chapter     11
                                                                                                                     Check if this an
                                                                                                                     amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     COOKEVILLE PLATINUM, LLC                                                Relationship to you

           TO BE FILED MIDDLE DISTRICT OF
District   TN                                         When                         Case number, if known
Debtor     LEBANON PLATINUM, LLC                                                   Relationship to you

           TO BE FILED MIDDLE DISTRICT OF
District   TN                                         When                         Case number, if known
Debtor     MURFREESBORO PLATINUM, LLC                                              Relationship to you

           TO BE FILED MIDDLE DISTRICT OF
District   TN                                         When                         Case number, if known
Debtor     PLATINUM GATEWAY II, LLC                                                Relationship to you

           TO BE FILED MIDDLE DISTRICT OF
District   TN                                         When                         Case number, if known
Debtor     VMW, LLC                                                                Relationship to you

           TO BE FILED MIDDLE DISTRICT OF
District   TN                                         When                         Case number, if known




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Fill in this information to identify the case:

Debtor name         DESTIN PLATINUM, LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF TENNESSEE

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 29, 2023              X /s/ MITCH PATEL
                                                           Signature of individual signing on behalf of debtor

                                                            MITCH PATEL
                                                            Printed name

                                                            MANAGER OF LLC
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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 Fill in this information to identify the case:
 Debtor name DESTIN PLATINUM, LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF TENNESSEE                                                                        Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Alliance Laundry                                                                                                                                                  $4,249.09
 Systems
 1626 Tradewinds Dr
 Gulf Breeze, FL
 32563
 AT&T.                                                                                                                                                             $3,373.25
 P. O. Box 5019
 Carol Stream, IL
 60197
 ATTRACT                                                                                                                                                         $11,970.00
 CONTRUCTION INC.
 663 E SHIPWRECK
 RD
 Santa Rosa Beach,
 FL 32459
 Banyan Tree                                                                                                                                                     $19,387.29
 Management, LLC
 4100 Legendary
 Drive, Suite 280
 Destin, FL 32541
 Certified Roofing                                                                                                                                                 $5,450.00
 Solutions, LLC
 3604 W. Highway
 390
 Panama City, FL
 32405
 Cox Business                                                                                                                                                      $6,040.36
 PO Box 771911
 Detroit, MI 48277
 Dees Paper                                                                                                                                                        $8,149.31
 Company Inc
 PO Box 191089
 Mobile, AL 36619
 Expedia                                                                                                                                                         $23,397.38
 P. O. Box 844120
 Dallas, TX 75284



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




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 Debtor    DESTIN PLATINUM, LLC                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 FPL Northwest FL                                                                                                                                                  $5,958.01
 PO Box 29090
 Miami, FL
 00033-1002
 Hilton Garden Inn                                                                                                                                               $12,693.12
 Columbus
 4100 Legendary
 Drive Suite 280
 Destin, FL 32541
 Hilton Supply                                                                                                                                                     $5,864.21
 Management
 7930 Jones Branch
 Drive
 McLean, VA 22102
 Hospitality Designs                                                                                                                                             $16,907.61
 11720 Horseshoe
 Way
 Richmond, TX 77469
 Malone                                                                                                                                                            $3,762.50
 #1 Commerce Drive
 Suite 200
 Hattieburg, MS
 39402
 Metro IP Inc                                                                                                                                                      $5,180.94
 2382 Hartfield Circle
 Winston, NC 27103
 Oracle                                                                                                                                                          $21,239.20
 P.O. Box 203448
 Dallas, TX 75320
 Platinum                                                                                                                                                        $37,652.01
 Management
 Services
 111 Broadway Suite
 300
 Nashville, TN 37201
 Small Business                                                                                                                                                $165,595.89
 Administration
 PO Box 3918
 Portland, OR 97208
 TechFinity                                                                                                                                                      $14,488.00
 PO BOX 56
 Dickson, TN 37056
 Walton County Tax                                                                                                                                               $31,988.48
 Collector
 P.O. Box 510
 Defuniak Springs,
 FL 32435
 Waste Management                                                                                                                                                  $3,029.14
 Federal Way
 Disposal PO Box
 42150
 Phoenix, AZ 85080

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




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DESTIN PLATINUM, LLC                  FPL NORTHWEST FL                 WALTON COUNTY TAX COLLECT
111 BROADWAY                          PO BOX 29090                     P.O. BOX 510
SUITE 300                             MIAMI FL 00033-1002              DEFUNIAK SPRINGS FL 32435
NASHVILLE TN 37201
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STEVEN L. LEFKOVITZ                   HILTON GARDEN INN COLUMBUS       WASTE MANAGEMENT
LEFKOVITZ & LEFKOVITZ                 4100 LEGENDARY DRIVE SUITE 280   FEDERAL WAY DISPOSAL PO BO42
908 HARPETH VALLEY PLACE              DESTIN FL 32541                  PHOENIX AZ 85080
NASHVILLE, TN 37221


ALLIANCE LAUNDRY SYSTEMS              HILTON SUPPLY MANAGEMENT
1626 TRADEWINDS DR                    7930 JONES BRANCH DRIVE
GULF BREEZE FL 32563                  MCLEAN VA 22102




AT&T.                                 HOSPITALITY DESIGNS
P. O. BOX 5019                        11720 HORSESHOE WAY
CAROL STREAM IL 60197                 RICHMOND TX 77469




ATTRACT CONTRUCTION INC.              MALONE
663 E SHIPWRECK RD                    #1 COMMERCE DRIVE SUITE 200
SANTA ROSA BEACH FL 32459             HATTIEBURG MS 39402




BANYAN TREE MANAGEMENT, LLC           METRO IP INC
4100 LEGENDARY DRIVE, SUITE 280       2382 HARTFIELD CIRCLE
DESTIN FL 32541                       WINSTON NC 27103




CERTIFIED ROOFING SOLUTIONS, LLC ORACLE
3604 W. HIGHWAY 390              P.O. BOX 203448
PANAMA CITY FL 32405             DALLAS TX 75320




COX BUSINESS                          PLATINUM MANAGEMENT SERVICES
PO BOX 771911                         111 BROADWAY SUITE 300
DETROIT MI 48277                      NASHVILLE TN 37201




DEES PAPER COMPANY INC                SMALL BUSINESS ADMINISTRATION
PO BOX 191089                         PO BOX 3918
MOBILE AL 36619                       PORTLAND OR 97208




EXPEDIA                               TECHFINITY
P. O. BOX 844120                      PO BOX 56
DALLAS TX 75284                       DICKSON TN 37056



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